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COUNSEL FOR CLO HOLDCO, LTD.

                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 In re:                       §                      Case No. 19-34054-sgj11
                              §
 HIGHLAND CAPITAL MANAGEMENT, §
 L.P.,                        §                      Chapter 11
                              §
       Debtor                 §

                                         §
 OFFICIAL    COMMITTEE                OF §
 UNSECURED CREDITORS,                    §
                                           1
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                                                §            Adversary No. 20-03195
         Plaintiff,                             §
                                                §
 vs.                                            §
                                                §
 CLO HOLDCO, LTD., CHARITABLE                   §
 DAF HOLDCO, LTD., CHARITABLE                   §
 DAF FUND, LP, HIGHLAND DALLAS                  §
 FOUNDATION, INC., THE DUGABOY                  §
 INVESTMENT TRUST, GRANT JAMES                  §
 SCOTT III IN HIS INDIVIDUAL                    §
 CAPACITY, AS TRUSTEE OF THE                    §
 DUGABOY INVESTMENT TRUST, AND                  §
 AS TRUSTEE OF THE GET GOOD                     §
 NONEXEMPT TRUST, AND JAMES D.                  §
 DONDERO,                                       §
                                                §
         Defendants.

                                 CERTIFICATE OF SERVICE


       I undersigned counsel hereby certify that on this September 29, 2021, I caused a copy of

the Stipulation and Order [Dkt. No. 89] and Declaration of Mark Patrick in Support of Stipulation

and Order [Dkt. No. 90] to be served through this Court’s CM/ECF System on counsel for the

Plaintiff as well as by email service.


                                                   /s/ Louis M. Phillips




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